                Case 17-35506                    Doc 11              Filed 01/16/18 Entered 01/16/18 15:41:11                                      Desc Main
                                                                       Document     Page 1 of 6
 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)           17-35506
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $35,560.00
           American Express                                                     Contingent
           PO Box 0001                                                          Unliquidated
           Los Angeles, CA 90096                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      SaveUp Inc.
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $80,000.00
           Bairsedev                                                            Contingent
           1999 S. Bascom Ave                                                   Unliquidated
           Suite 700
                                                                                Disputed
           Campbell, CA 95008
           Date(s) debt was incurred     2017                                Basis for the claim:    Bairsedev v SaveUp Inc.
           Last 4 digits of account number      9518                         Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $33,450.00
           Barryillium Labs LLC                                                 Contingent
           10248 Brushfield Lane                                                Unliquidated
           Fishers, IN 46037
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      Saveup Inc.
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Bizintech                                                            Contingent
           235 Peachtree Street NE                                              Unliquidated
           Suite 400
                                                                                Disputed
           Atlanta, GA 30303
           Date(s) debt was incurred 9/2017
                                                                             Basis for the claim:    Bizintech v. SaveUp Inc.
           Last 4 digits of account number L711                              Is the claim subject to offset?       No     Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,576.93
          Caitlin Schott                                                        Contingent
          303 W Ohio                                                            Unliquidated
          Apartment 2605
                                                                                Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                             Basis for the claim:    DOL Wage claim
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          California Labor Commissioner                                         Contingent
          455 Golden Gate Ave 10th Floor                                        Unliquidated
          San Francisco, CA 94102
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Christian DeHoyos v WL Benefits Group
          Last 4 digits of account number       65EK
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          Christian DeHoyos                                                     Contingent
          157 Elm Street #101                                                   Unliquidated
          San Mateo, CA 94401                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,262.50
          Cohen Silverman Rowan LLP                                             Contingent
          6662 Gunpark Drive                                                    Unliquidated
          Suite 202                                                             Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Saveup Inc.                  Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,000.00
          Dave Trace                                                            Contingent
          1002 Aynsley Ave                                                      Unliquidated
          Lake Forest, IL 60045
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Department of Labor                                                   Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Gace                         Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Department of Labor                                                   Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       iler                         Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $545,000.00
          Horwood Marcus Berk                                                   Contingent
          500 W Madison Suite 3700                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Load Delivery Logistics v Saveup
          Last 4 digits of account number 0195
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $152,000.00
          Horwood Marcus Berk                                                   Contingent
          500 W Madison Suite 3700                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Beacon Hill Staffing v SaveUp Inc.
          Last 4 digits of account number       2521
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Illinois Department of Labor                                          Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed wage claims
          Last 4 digits of account number       1698;7477;7468               Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,245.00
          Jansson Munger McKinley & Kirby                                       Contingent
          207 E Westminster Ave                                                 Unliquidated
          Suite 205
                                                                                Disputed
          Lake Forest, IL 60045
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       SaveUp Inc.                  Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375,000.00
          Kian Sarreshteh                                                       Contingent
          360 W. Hubbard Street                                                 Unliquidated
          Suite 1007
                                                                                Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                             Basis for the claim:    Kian Sarreshteh v SaveUp
                                                                             2016 CH 290
          Last 4 digits of account
                                                                             Lake County
          number Kian Sarreshteh             v SaveUp
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,562.97
          Robert S. Reda                                                        Contingent
          736 N Western Ave                                                     Unliquidated
          Suite 353
                                                                                Disputed
          Lake Forest, IL 60045
          Date(s) debt was incurred 9/2017
                                                                             Basis for the claim:    Reda & DesJardins v SaveUp Inc.
          Last 4 digits of account number L708                               Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,400.00
          Rogic                                                                 Contingent
          3500 DuPont Highway                                                   Unliquidated
          Dover, DE 19901
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rogic LLC v SaveUp Inc.
          Last 4 digits of account number       2041
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Stephen Sarver                                                        Contingent
          1843 Rosemary Lane                                                    Unliquidated
          Gurnee, IL 60031
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,000.00
          Synergy Law Group LLC                                                 Contingent
          730 W Randolph Suite 600                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          The Tarpey Firm                                                       Contingent
          225 W Wacker Drive                                                    Unliquidated
          Suite 1515
                                                                                Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Grenville v SaveUp Inc.
          Last 4 digits of account number       SaveUp Inc.                  Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Visa Black Card                                                       Contingent
          PO Box 13337                                                          Unliquidated
          Philadelphia, PA 19101-3337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,400.00
          Wagoner Falconer & Judd                                               Contingent
          325 N Corporate Drive Suite 100                                       Unliquidated
          Brookfield, WI 53045
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FGMK
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Westlake Financial Group                                              Contingent
          1477 Barclay Blvd                                                     Unliquidated
          Buffalo Grove, IL 60089                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700,000.00
          Williams Montgomery & John Ltd.                                       Contingent
          233 S Wacker Drive                                                    Unliquidated
          Suite 6100
                                                                                Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Grenville v SaveUp Inc.
          Last 4 digits of account number       v810                         Is the claim subject to offset?     No       Yes




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 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           WL Benefits Group Inc.                                               Contingent
           2345 Waukegan Road                                                   Unliquidated
           Suite 140                                                            Disputed
           Deerfield, IL 60015
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      SaveUp Inc.                  Is the claim subject to offset?         No    Yes


 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $1,755,568.00
           Yodlee                                                               Contingent
           Lockbox Dept Ch 17405                                                Unliquidated
           Palatine, IL 60055
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Yodlee v SaveUp Inc.
           Last 4 digits of account
           number Yodlee v SaveUp             Inc.                           Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       FGMK
           333 W Wacker Dr                                                                            Line     3.23                                    SaveUp Inc.
           6th Floor
                                                                                                             Not listed. Explain
           Chicago, IL 60606

 4.2       Grenville Strategic Royalty Corp.
           220 Bay Street                                                                             Line     3.21
           Suite 550
                                                                                                             Not listed. Explain
           Toronto Ontario M5J 2W4 Canada

 4.3       Hunt & Henriques
           151 Bernal Road Suite B                                                                    Line     3.27
           San Jose, CA 95119
                                                                                                             Not listed. Explain

 4.4       Mark S. Lichtman
           222 N LaSalle #300                                                                         Line     3.2
           Chicago, IL 60601
                                                                                                             Not listed. Explain

 4.5       Matthew B. Schiff
           Sugar Felsenthal Grais & Hammer LLP                                                        Line     3.16
           30 N LaSalle #3000
                                                                                                             Not listed. Explain
           Chicago, IL 60602

 4.6       Michael Taege
           800 Northwest Hwy                                                                          Line     3.4
           Suite 506
                                                                                                             Not listed. Explain
           Palatine, IL 60074

 4.7       William Jeffrey Factor
           105 W Madison Suite 1500                                                                   Line     3.18
           Chicago, IL 60602
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.


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                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  4,042,025.40

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    4,042,025.40




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